             Case 1:24-cv-03356-AS        Document 20        Filed 06/05/24       Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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LIANG WANG,                                                      :
                                                                 :
                                    Plaintiff,                   : Case No.
                               vs.                               : 1:24-cv-03356 (AS) (RWL)
                                                                 : [Rel: Case No. 1:24-cv-03348 (AS)
THE PHILHARMONIC SYMPHONY SOCIETY                                :
OF NEW YORK, INC. and ASSOCIATED                                   (RWL)]
                                                                 :
MUSICIANS OF GREATER NEW YORK, LOCAL :
802, AMERICAN FEDERATION OF MUSICIANS, :
                                    Defendants.                  :
                                                                 :
                                                                 :
                                                                 :
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                             DECLARATION OF OLIVIA R. SINGER

                  I, Olivia R. Singer, under penalty of perjury and in lieu of affidavit as permitted

by 28 U.S.C. § 1746, declare as follows:

                  1.     I am an attorney in the law firm Cohen, Weiss and Simon LLP, which

serves as counsel to Defendant Associated Musicians of Greater New York, Local 802,

American Federation of Musicians (“Local 802”) in this case. I make this declaration in support

of Local 802’s motion to dismiss the Complaint pursuant to Federal Rule of Civil Procedure

12(b)(6).

                  2.     Attached hereto as Exhibit A is a copy of the collective bargaining

agreement between Local 802 and the Philharmonic-Symphony Society of New York, Inc. (the

“Philharmonic”) with a term from September 21, 2020 to September 20, 2024. Compl. ¶1.

                  3.     Attached hereto as Exhibit B is a copy of the April 12, 2024 Vulture

article entitled “A Hidden Sexual-Assault Scandal at the New York Philharmonic.” Compl. ¶37.

                  4.     Attached hereto as Exhibit C is a copy of the April 18, 2024 public



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        Case 1:24-cv-03356-AS         Document 20        Filed 06/05/24      Page 2 of 2




statement issued to the “New York Philharmonic Community” by the CEO of the Philharmonic.

Compl. ¶¶49, 97, 130, 142.

              5.      Attached hereto as Exhibit D is a copy of the April 13, 2024 statement

issued by the Orchestra Committee of the Philharmonic. Compl. ¶14.

              6.       Attached hereto as Exhibit E is a copy of the April 15, 2024 New York

Times article concerning the Vulture piece and the Philharmonic’s investigation. Compl. ¶¶44–

47.

              7.      Attached hereto as Exhibit F is a copy of the April 17, 2024 letter from

Wang’s counsel to Local 802’s counsel. Compl. ¶63.

              8.      Attached hereto as Exhibit G is a copy of the April 18, 2024 letter from

Local 802’s counsel to Wang’s counsel. Compl. ¶63.

              9.      Attached hereto as Exhibit H is a copy of the April 19, 2024 letter from

Wang’s counsel to Local 802’s counsel. Compl. ¶63.

              10.     Attached hereto as Exhibit I is a copy of the April 26, 2024 letter from

Local 802’s counsel to Wang’s counsel. Compl. ¶63.

              11.     Attached hereto as Exhibit J is a non-argumentative chart identifying the

elements of Wang’s claims that were not plausibly alleged, as required by this Court’s Individual

Rule 8.G.i.

              I declare under penalty of perjury that the foregoing is true and correct to the best

of my knowledge and belief.

Executed at New York, New York this 5th day of June 2024.

                                             _/s/ Olivia R. Singer_________________________
                                             Olivia R. Singer




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